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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

 RACHEL SAUNDERS,                                    )
                                                     )
        Plaintiff,                                   )
                                                     ) Case No. 4:18-cv-01024
 v.                                                  )
                                                     )
 PORTER HEALTH & FITNESS, LLC, et al.,               )
                                                     )
                                                     )
        Defendants.                                  )

                              STIPULATION FOR DISMISSAL

        IT IS HEREBY STIPULATED AND AGREED that this action against

 Defendants should be dismissed with prejudice, each party to bear its own costs.

 Dated: July 3, 2018                         Respectfully submitted,


                                             PONTELLO LAW, LLC

                                             By: __/s/ Dominic Pontello, MO#60947
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                                             Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE

        I hereby certify that, on this 3rd day of July 2018, the foregoing was filed

 electronically and served upon counsel of record via the Court’s ECF filing system.


                                                         /s/ Dominic M. Pontello
                                                       Dominic M. Pontello




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